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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:21-cv-00486-DDP-JEM                                          Date     May 24, 2021
 Title             Howard Iten v. County of Los Angeles




 Present: The Honorable          DEAN D. PREGERSON, UNITED STATES DISTRICT JUDGE
                      Patricia Gomez                                          Maria Bustillos
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      Kathryn D. Valois                                       Andrew Baum
                      Lawrence Salzman                                        Jeffrey Levin


 Proceedings:                 MOTION TO DISMISS [15]



           Court and counsel confer as reflected on the record. The matter is taken under submission.




                                                                                                  :       30
                                                               Initials of Preparer   PG




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